    Case: 1:17-cv-06638 Document #: 10 Filed: 11/19/18 Page 1 of 2 PageID #:1167




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTzuCT OF ILLINOIS
                                   EASTERN DIVISION

 LTNITED STATES OF AMERICA, and THE )
 STATE OF ILLINOIS, ex rel.DR. THOMAS )
 PROSE,
                                                            No. 17 C 6638
                        Plaintiffs-Relators,
                                                             Chief Judge Castillo
                        v.
                                                             Filed In Camera and
 MOLINA HEATHCARE OF ILLINOIS,                               Under Seal
 INC. and MOLINA HEALTHCARE, INC.

                        Defendants.

                                               ORDER

       This matter coming before the court on the United States' Notice of Election to Decline

Intervention in this action pursuant to the False Claims Act, 31 U.S.C. S3730(b)(2)(A), and the

court being fully informed, it is hereby

       ORDERED that:

       1.      the seal be lifted on the complaint, this order, and the government's notice of

election to decline intervention which the relator   will   serve upon the defendants;

       2.      all other contents of the court's file in this action remain under seal and not be made

public or served upon the defendants; and
    Case: 1:17-cv-06638 Document #: 10 Filed: 11/19/18 Page 2 of 2 PageID #:1168




        3.      the parties shall serve upon the United States and the State of   Illinois all pleadings

and motions filed in this action, including supporting memoranda, as provided for in 31 U.S.C.

S3730(cX3). The United States and the State of Illinois may order any deposition transcripts and

is entitled to intervene in this action, for good cause, at any time. Should the relator or the

defendants propose that this action be dismissed, settled, or otherwise discontinued, the court    will

solicit the written consent of the United States and the State of Illinois before ruling or granting its

approval.

                                ENTER:


                                                RUB      CAS          , Chief Judge
